           Case 2:05-cr-00281-JLR       Document 180      Filed 08/17/05    Page 1 of 3




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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR05-281 JLR
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    DAVID LOPEZ-BUENO,           )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:         Conspiracy to Distribute Methamphetamine, Cocaine and Heroin, in
17                          violation of Title 21, U.S.C., Sections 841(a)(1), 841(b)(1)(A), and
18                          846.
19 Date of Detention Hearing: August 15, 2005.
20            The Court, having conducted an uncontested detention hearing pursuant to Title
21 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22 detention hereafter set forth, finds that no condition or combination of conditions which the
23 defendant can meet will reasonably assure the appearance of the defendant as required and
24 the safety of any other person and the community. The Government was represented by
25 Susan Roe. The defendant was represented by Kevin Peck.
26            The Government filed a Motion for Detention, to which the defendant stipulated.

     DETENTION ORDER
     PAGE -1-
          Case 2:05-cr-00281-JLR      Document 180      Filed 08/17/05     Page 2 of 3




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 2       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 3          (1)   There is probable cause to believe the defendant committed the drug
 4                conspiracy offense. The maximum penalty is in excess of ten years.
 5                There is therefore a rebuttable presumption against the defendant’s
 6                release based upon both dangerousness and flight risk, under Title 18
 7                U.S.C. § 3142(e).
 8          (2)   Nothing in this record satisfactorily rebuts the presumption against
 9                release for several reasons:
10                (a)    The defendant poses a risk of flight based on his unknown or
11                       unverified personal history; his unknown residence; his unknown
12                       family ties; and his unknown ties to this district.
13                (b)    Due to the nature and seriousness of the crime alleged, combined
14                       with the defendant’s unknown background, release of the
15                       defendant would pose a risk to the community.
16                (c)    The defendant stipulated to detention.
17          (3)   Based upon the foregoing information which is consistent with the
18                recommendation of U.S. Pre-trial Services, it appears that there is no
19                condition or combination of conditions that would reasonably assure
20                future Court appearances and/or the safety of other persons or the
21                community.
22
23   It is therefore ORDERED:
24          (l)   The defendant shall be detained pending trial and committed to the
25                custody of the Attorney General for confinement in a correction facility
26                separate, to the extent practicable, from persons awaiting or serving

     DETENTION ORDER
     PAGE -2-
         Case 2:05-cr-00281-JLR     Document 180       Filed 08/17/05    Page 3 of 3




 1               sentences or being held in custody pending appeal;
 2         (2)   The defendant shall be afforded reasonable opportunity for private
 3               consultation with counsel;
 4         (3)   On order of a court of the United States or on request of an attorney for
 5               the Government, the person in charge of the corrections facility in which
 6               the defendant is confined shall deliver the defendant to a United States
 7               Marshal for the purpose of an appearance in connection with a court
 8               proceeding; and
 9         (4)   The clerk shall direct copies of this order to counsel for the United
10               States, to counsel for the defendant, to the United States Marshal, and to
11               the United States Pretrial Services Officer.
12         DATED this 17th day of August, 2005.
13
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15
                                                    A
                                                    MONICA J. BENTON
16                                                  United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3-
